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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

 MARIA STANG,

         Plaintiff,                                  Case No. 18-13112

 v.                                                  Honorable Laurie J. Michelson
                                                     Magistrate Judge David R. Grand
 DELTA AIRLINES, INC.,

         Defendant.


                 ORDER REGARDING DETERMINATION OF MOTION


       Before the Court is Defendant’s Rule 12(b)(6) motion for partial dismissal of Plaintiff’s

complaint (ECF no. 9). The response brief and any reply brief shall be filed in compliance with

E.D. Mich. LR 7.1.

       If the total brief (including exhibits) exceeds 20 pages, a courtesy copy of the motion, brief,

response, or reply, with tabbed and highlighted exhibits, shall be mailed or hand delivered to

United States District Judge Laurie J. Michelson at 231 W. Lafayette, Room 838, Detroit, MI

48226. Courtesy copies should conform to Judge Michelson’s case-management requirements that

were docketed earlier in the case (usually as part of the scheduling order).

       If, upon review of all the briefing, the Court finds that oral argument would aid in resolving

the disputed issues, a notice will be filed on the docket setting a hearing. Otherwise, the Court will

decide the motion on the briefs. See Fed. R. Civ. P. 78(b); E.D. Mich. LR 7.1(f).

       SO ORDERED.

                                               s/Laurie J. Michelson
                                               LAURIE J. MICHELSON
                                               UNITED STATES DISTRICT JUDGE
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Date: April 3, 2019


                                    CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing document was served upon counsel of record
on this date, April 3, 2019, using the Electronic Court Filing system.


                                            s/William Barkholz
                                            Case Manager




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